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                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,

           V.

                                       Cr. No. 09-10166-MLW
SALVATORE DIMASI,
     Defendant.



                         MEMORANDUM AND ORDER


WOLF, D.J.                                               March 31, 2017

    I.    SUMMARY


    As authorized by the November 17, 2016 Memorandum and Order,

{the "November 17, 2016 Order"), defendant Salvatore DiMasi has

moved that the terms of his Supervised Release be revised to

replace the at least six months of home confinement with a 7:00

p.m. to 7:00 a.m. curfew (the "Motion"). For the reasons described

below, the Motion is being denied without prejudice.

     However, the court is authorizing the Probation Department

("Probation")   to   allow   DiMasi   to   participate    in   a   cardiac

rehabilitation program prescribed by his cardiologist and, if

deemed appropriate for him by Probation, the YMCA "Live Strong"

program. In addition, the previous authorization for DiMasi to

exercise one hour a day is being increased to up to two hours a

day to the extent approved by Probation. In the future, DiMasi
shall first address any additional requests to participate in

programs, or similar requests, to Probation rather than initially
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to the court. Probation will grant reasonable requests in the

future as it has in the past.

     II.    THE RELEVANT HISTORY


     The following background is more fully described in the

November 11, 2016 Order. See United States v. DiMasi, 2016 WL

6818346 {D. Mass. Nov. 11, 2016).

     In 2011, the court sentenced DiMasi to serve eight years in

prison for extortion and related crimes committed while he was the

Speaker of the Massachusetts House of Representatives. DiMasi
began serving that sentence in November 2011.

     It was discovered in 2012 that DiMasi had cancer in his neck

and tongue. He was treated with chemotherapy and radiation. This
treatment    resulted   in   DiMasi   needing   to   receive   nourishment

through a feeding tube for about a year. DiMasi has been free of
cancer since at least July 2013.

     Beginning in 2015, DiMasi and his attorneys made a series of

requests that the Bureau of Prisons (the "BOP") file a motion with
the court seeking DiMasi's early release pursuant to 28 U.S.C.

§3582(c)(1)(A)(i). That statute authorizes a court, upon motion by

the BOP, to reduce a sentence for "extraordinary and compelling

reasons." DiMasi's requests were repeatedly denied by the BOP.

Most recently, in June 2016, the Assistant Director and General
Counsel of the BOP denied DiMasi's request for such a motion. She

noted that his cancers were in remission, and that he had no
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physical or work limitations. She concluded that DiMasi did not

meet the criteria for a motion for a reduction in sentence because

his health was not deteriorating and his ability to function in a

correctional institution was not substantially impaired.

     However, in July 2016, four lawyers representing DiMasi pro

bono met with the United States Attorney for the District of

Massachusetts. The United States Attorney subsequently spoke to

the General Counsel of the BOP who had recently denied DiMasi's

request to encourage reconsideration of that decision.

     In August 2016, a medical test was done to evaluate DiMasi's

ability to swallow. A BOP doctor interpreted the results as

indicating that: DiMasi's throat had narrowed; he had great

difficulty    swallowing;     and    his    condition     was    serious,
deteriorating, and unlikely to improve. The Medical Director of

the BOP subsequently concluded that "it is medically indicated

that someone be present to assist [DiMasi] with choking prevention
while eating or drinking."          at *3. The BOP could have assigned
an inmate companion to monitor DiMasi while he was eating or

drinking. It chose instead to file a motion for his early release.
     For the reasons fully explained in the November 17, 2016

Order, the court allowed that motion. It explained, in part, that:
     Although now cancer free, DiMasi is suffering from a serious
     medical condition. The treatment for his cancer has narrowed
     his throat, requiring a special diet. He is, however, still
     at risk of choking whenever he eats. As previously noted, the
     Medical Director of the Bureau of Prisons found that "it is
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     medically indicated" that DiMasi be monitored while eating.
     This opinion is central to the court's conclusion that
     DiMasi's release is justified. The Bureau of Prisons could
     provide an inmate companion to monitor DiMasi when he eats.
     However, the court finds that it would be more effective for
     his family, and professionals it may hire, to perform this
     function.


Id. at *4 (emphasis added).

     The court found, however, that the reduction of DiMasi's

sentence was justified only if certain new conditions of Supervised

Release were imposed. More specifically, the court modified the

conditions of DiMasi's Supervised Release:

     to include at least six months home confinement,^ in the
     custody of his wife Deborah DiMasi, who is being ordered to
     assure that a family member or professional health aide is
     with DiMasi whenever he eats or drinks to minimize the risk
     of choking or other harm to DiMasi. DiMasi will be allowed to
     leave his home for any medical emergency and, with the prior
     approval of the Probation Office, for medical appointments,
     and religious observances. The court is not ordering
     electronic monitoring of DiMasi's home confinement.

Id. at *24.


     In ordering early release, the court stated that DiMasi could

after 90 days move for a modification of the home confinement
condition of his Supervised Release if there was medical evidence

to support such a request. Id. at *25. The court noted it would


1 The six-month period of home confinement served the interest of
providing DiMasi the most effective medical care and also the
interest of avoiding unwarranted disparities in sentencing. See
DiMasi, 2016 WL 6818346, at *24-25. Ordinarily, the BOP requires
a six—month placement in a Residential Re—entry Center before an
inmate is released to the community. Id. at *25. In view of
DiMasi*s medical needs, a six-month period of home confinement was
deemed more appropriate in this case. Id.
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consider reducing DiMasi's 24-hour home confinement to a curfew.

Id. at *1, 25. The court further stated that it "may also consider

whether DiMasi's period of home confinement should be extended

beyond six months." Id. at *25.

      111. THE MOTION


      As indicated earlier, DiMasi has filed a motion requesting

that he now be subject to a 7:00 p.m. to 7:00 a.m. curfew rather

than continued home confinement.

      The motion is supported by a letter from DiMasi's oncologist,

who reports that DiMasi is not receiving "active cancer treatment;"

has been gaining weight; and "his swallowing capacity has shown

improvement." Docket No. 925-1. The doctor indicates that a curfew

rather than home confinement would facilitate making and, when

necessary, rescheduling appointments. The oncologist does not

address the need for monitoring while DiMasi is eating or drinking

on which the BOP based its request for DiMasi's early release and

on which the court relied in granting it. DiMasi's cardiologist

recommends that DiMasi participate in a cardiac rehabilitation

program. DiMasi himself states that he would like to participate
in   the   YMCA's twice   a   week "Live   Strong" program for      cancer

patients, and to exercise for more than the one hour a day
previously requested and authorized by Probation after consulting
the court.
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     As indicated   earlier, the     Motion   is   being   denied   without

prejudice. In essence, the court finds that it is not necessary or

appropriate to end DiMasi's home confinement to serve the medical

needs identified by his doctors; DiMasi does not meaningfully, let

alone persuasively, address why the need for monitoring while he

eats or drinks, which he successfully argued justified his early

release, either no longer exists or would be adequately met by a

curfew; and the imperfect performance of DiMasi and his monitors

since his release indicates that at least the current conditions

of Supervised Release continue to be necessary and appropriate.

     The modified conditions of Supervised Release imposed when

DiMasi's early release was ordered were intended in meaningful

measure to provide him the opportunity to get optimal medical care

from the doctors of his choice. See DiMasi, 2016 WL 6818346, at

*19. DiMasi has been receiving such care. As DiMasi should know

from experience, if he had asked Probation for permission to
participate in a cardiac rehabilitation program prescribed by his
doctor, or any other program that reasonably promised to be helpful
to his health. Probation—either itself or after consultation with

the court—would have authorized it.

     In requesting a curfew in place of home confinement without
discussing the requirement that he be monitored while eating or
drinking, DiMasi implicitly suggests that requirement should be
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removed.2 This is, essentially, a reiteration          of the argument

DiMasi made unsuccessfully in connection with the motion for his

early release. As the court wrote in November 2016:

     it is difficult to reconcile DiMasi*s claim that his early
     release is justified because it is medically indicated that
     he be monitored while eating with his argument that no time
     in home confinement is appropriate to assure such monitoring
     is properly provided. These contradictory positions caused,
     and to some extent continue to cause, the court to question
     whether  DiMasi's  medical condition   warrants  his early
     release.


     Viewed most favorably to DiMasi, his argument is that he and
     his family understand the medical need for monitoring while
     he eats and that they will voluntarily assure he receives it
     when he returns home. However, the court is not persuaded
     that the necessary monitoring would be consistently provided
     if not required as a condition of DiMasi's Supervised Release.

     Therefore, the court finds that, at least for a transitional
     period, it is      reasonably    necessary to     assure   the    most
     effective care for DiMasi that it order that he be monitored
     at home, while eating and drinking, by a member of his family
     or a healthcare professional hired to do so.

Id. at *24.


     The concerns the court expressed in November 2016 endure.

On December 15, 2016, DiMasi was not at home when his Probation

Officer made an unannounced visit at 3:45 p.m. Although DiMasi

had been authorized to go to the bank in conjunction with a

12:30 p.m. medical appointment, he chose to go with his wife at
about 3:00 p.m. instead.




2 The court notes that DiMasi does not address why a curfew in
place of home confinement would be compatible with DiMasi being
monitored whenever eating or drinking.
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    In addition, on December 15, 2016, at 3:45 p.m., the Probation

Officer found that DiMasi's step-son had already written in the

log Probation required to be kept that he had watched DiMasi eat

dinner later that day. As a result, DiMasi and his monitors have

since each been ordered to record in logs, under oath, that a

particular person watched DiMasi eat or drink at a particular time

on a particular date.

     The court has reviewed those logs in connection with its

consideration   of   the   Motion    and       finds   they   raise   questions

concerning   whether all of the         required monitoring is            being

conducted. For example, the logs show that: on January 9, 2017,

DiMasi was monitored eating breakfast at 9:08 a.m. and dinner at

8:31 p.m.; and on January 10, 2017, he was monitored eating lunch
at 2:08 p.m. and dinner at 8:24 p.m. In contrast to December 30,
2016, for example, there is no statement that on these dates DiMasi
did not eat lunch or breakfast respectively. The missing meals,

and the long intervals between recorded meals, raise the question
of whether all of DiMasi's meals have been monitored.

     DiMasi's   oncologist's        brief,      unverified    statement    that

DiMasi's "swallowing capacity has shown improvement" is not

sufficient to persuade the court that the need for monitoring that

was successfully argued to be a substantial justification for his
early release was never necessary or is no longer necessary.

However, if such evidence exists, DiMasi may present it in support

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of a motion for reconsideration of this denial of his request that

a curfew be imposed in place of home confinement. It may, in any

event, be necessary to address these questions if and when the

court "consider[s] whether     DiMasi's period of home confinement

should be extended beyond six months." Id. at *25.

     IV.   ORDER


     In view of the foregoing, it is hereby ORDERED that:

     1.    Defendant's Motion to Modify Terms of Supervised Release

{Docket No. 925) is DENIED without prejudice.

     2.    Probation may authorize DiMasi to leave his home to

participate in a cardiac rehabilitation program prescribed by his

cardiologist; to participate in any other program reasonably

deemed helpful by a healthcare provider; and to exercise up to two

hours a day.




                                                                 idgeV
                                         UNITED STATES DISTRICT JUDGE
